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           IN THE CHANCERY COURT FOR THE STATE OF TENNESSEE
          TWENTIETH JUDICIAL DISTRICT, DAVIDSON COUNTY, PART IV

   AHLAM K. ARY,                                                )                         ,


            Plaintiff,
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  vs.                                                           )        CASE «6. 177l03713:
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                                                                )                       “A         ‘3               m
  MIDLAND MORTGAGE COMPANY and                                  )
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  WEISS & CUMMINS, PLLC,                                        )                                         1-,»;
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            Defendants.                                         )                             1;     2f             3
                     ORDER GRANTING TEMPORARY INJUNCTION

            On April 18, 2017, Plaintiff Ahlam K. Ary                 (“Ms Ary” or “Plaintiff’)                   sued

  Defendants, Midland Mortgage Company and Weiss                    & Cummins, PLLC (“Midland” and

   “Weiss,” respectively; “Defendants” collectively), seeking a temporary injunction

  preventing Weiss from selling Ms. Ary’s house on April 27, 2017, a permanent

   injunction, damages, and other relief.              Ms. Ary’s Veriﬁed Complaint (“Complaint”)

   contains the following four counts:        1)   Violation of the Federal Real Estate Settlement

   Procedures Act (“RESPA”), Regulation X; 2) Violation                   of   the Federal Real Estate

   Settlement Procedures Act, 12 U.S.C.            §   2601, et. seq.; 3) Breach   of Contract;            and 4)

  Promissory Estoppel. On April 18, 2017, the Court entered an Order setting Ms. Ary’s

  application for a temporary injunction for non-evidentiary hearing on April 25, 2017 at

   1:30   pm, which was held as scheduled.1



   1
     Neither Defendant ﬁled a written response to Plaintiff‘s application for a temporary injunction.
  Additionally, no one appeared on behalf of the named Defendants. Local counsel (Duane W. Devault,
  Esquire) for the entity identiﬁed in court as the actual servicer of Plaintiff’s loan (MidFirst Bank)
  announced that he was making a “special and limited appearance” on behalf of MidFirst Bank at the
  hearing. Mr. Devault made certain statements for the record concerning appropriate entities, potential
  arrearages, and what might be the current status of Plaintiff’s request for a loan modiﬁcation. Although
  Mr. Devault did not offer a vigorous or substantive opposition to Plaintiff’s application for a temporary
  injunction, he did not want the record to reﬂect that MidFirst Bank had no opposition to Plaintis request
  for a temporary injunction.


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                                            Applicable Standard

           In deciding       a   motion for temporary injunction, the inquiry is based on the

   language     of Term.   R. Civ. P. 65.04(2), which reads in its entirety as follows:

           A temporary injunction may be granted during the pendency of an action
           if it is clearly shown by veriﬁed complaint, afﬁdavit or other evidence that
           the movant’s rights are being or will be violated by an adverse party and
           the movant will suffer immediate and irreparable injury, loss or damage
           pending a ﬁnal judgment in the action, or that the acts or omissions                of the
           adverse party will tend to render such ﬁnal judgment ineffectual.

   Id. In following this language, Tennessee appellate courts have distilled four factors for

   the Court’s consideration in determining whether to grant a temporary injunction:

           l)    The threat      of irreparable harm   to the applicant   if the injunction is not
                 granted;

           2) The balance between the harm the applicant is seeking to prevent and
              the injury that granting the injunction would inﬂict on the party the
              applicant is proposing to enjoin;

           3) The probability that the applicant         will succeed on the merits;     and

           4) The public interest.

   See   Moody    v.   Hutchison, 247 S.W.3d 187, 199-200 (Tenn. Ct. App. 2007). These factors

   are considerations, not a hard and fast test.           Ultimately, the above-quoted language of

   Tenn. R. Civ. P. 6504(2) controls the Court’s disposition                 of   a   temporary injunction

   request. Under Tenn. R. Civ. P. 6504(6), the Court is required to “set forth ﬁndings                 of

   fact and conclusions of law which constitute the grounds of its action.” Id.

                                              Findings of Fact

           Based on the current state           of     the record, the Court makes the following

   preliminary ﬁndings of fact:

           1.    Ms. Ary lives at her home (the “Property”) at 109 Colemont Drive, Antioch,

                 Davidson County, Tennessee; she now maintains 100% title interest in her




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                   home.            At all relevant times, Midland or MidFirst Bank2 serviced the

                   mortgage on the Property. Ms. Ary lived in this home with her husband, Rauf

                   Ary (“Mr. Ary”), until he passed away on October 4, 2015.

              2.   Midland is an Oklahoma corporation qualiﬁed to do business in Tennessee,

                   with its principal place of business in Oklahoma City, Oklahoma.

              3.   Weiss is a Tennessee corporation, with is principal place                 of   business in

                   Memphis, Tennessee.               As the substitute trustee (appointed on or about

                   December 2, 2016) in the applicable Deed              of Trust, Weiss   has responsibility

                   for any potential foreclosure of Ms. Ary’s home.

              4.   Mr. Ary purchased the Property solely in his name in November 1999. He

                   passed away intestate on October 4, 2015.

              5.   On or about February 3, 2017, Ms. Ary’s son, Acar Ary, quitclaimed any

                   interest he might have in the Property. Ms. Ary caused this quitclaim deed to

                   be recorded           with the Davidson County Register of Deeds.

              6.   Ms. Ary was able to keep up the payments on her home after her husband’s

                   death until the Spring          of 2016, when   she began to   fall behind. Ms. Ary has

                   been in contact with Midland trying to work out the arrearages and reach a

                   modiﬁed arrangement on            a   going-forward basis.

              7.   With the assistance of the Legal Aid Society of Middle Tennessee and the

                   Cumberlands (“Legal Aid”), Ms. Ary sent a completed Request for Mortgage

                   Assistance            (“RMA”) to Midland on or about August 29, 2016. Ms. Ary’s

                   RMA included documentation showing Ms. Ary’s income and                        a hardship

                   afﬁdavit.



   2
       See footnote   1   on page   1.




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         8.    On about September 6, 2016, Ms. Ary, through one        of the representatives   at

               Legal Aid who was assisting her, Tabitha Faulconer         (“Ms Faulconer”),     a

               paralegal, called Midland for an update on Ms. Ary’s RMA.             On or about

               September 9, 2016, in response to Midland’s statement concerning what else

               was needed to complete Ms. Ary’s RMA, Ms. Faulconer faxed Midland Ms.

               Ary’s signed credit authorization.

               On or about September 19, 2016, Ms. Faulconer called Midland for an update.

               Midland stated that it need another signed credit authorization, Ms. Ary’s two

               most recent bank statements, and the birth certiﬁcate for Ms. Ary’s children to

               complete her RMA. No other documentation was mentioned or requested.

         10. On or       About September 27, 2016, Ms. Faulconer faxed Midland Ms. Ary’s

               new signed credit authorization, her two most recent bank statements, and her

               children’s birth certiﬁcates.

         11. On or about October 3, 2016, Ms. Faulconer called            Midland for another

               update.     Midland stated that it was preparing Ms. Ary’s loan assumption

               paperwork and that it would be mailing it to her soon, but that it now needed a

               copy   of Ms. Ary’s driver’s license    and Social Security card.     On or about

               October 11, 2016, Ms. F aulconer faxed Midland copies      of Ms. Ary’s driver’s

               license and Social Security card.

         12. On or about October 24, 2016, Ms. Faulconer called               Midland seeking an

               update.     Midland stated that it had not mailed Ms. Ary’s loan assumption

               paperwork.      Midland requested Ms. Ary’s probate ﬁling to complete her

               RMA.

         13.   On or about November 10, 2016, Midland mailed Ms. Ary a letter stating that

               her RMA was denied on the basis         of being incomplete.    The letter was not

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            sent to her legal counsel at Legal Aid.       Ms. Faulconer immediately called

            Midland; Midland stated that    if it received a copy of Ms. Ary’s probate ﬁling
            by November 27, 2016, it would re—open her RMA.

         14. On or about November 23, 2016, Ms. Faulconer faxed a copy          of Ms. Ary’s

            probate ﬁling to Midland.

         15. On or about   November 28, 2016, Ms. Faulconer called Midland and Midland

            acknowledged receipt      of Ms. Ary’s probate ﬁling    and stated that   it would

            process Ms. Ary’s re-opened RMA.

         16. Ms. Faulconer called   Midland for an update on or about December        1,   2016.

            Midland advised Ms. Faulconer that it had deemed Ms. Ary’s application to

            be complete, and would need to speak      with Ms. Ary to complete her ﬁnancial

            review.

         17. On or about December 9, 2016, Ms.         Ary called Midland to complete the

            requested financial review.    Midland told Ms. Ary that her RMA had been

            closed since October 27, 2016 and that should would need to start all over

            with a new application.

         18. Despite Ms.   Ary’s and Legal Aid’s frustration with Midland, Legal Aid faxed

            Midland a new completed RMA on or about December 21, 2016 in an effort

            to save Ms. Ary’s home.

         19. On or about January 3, 2017, Ms. Faulconer called     Midland for an update on

            Ms. Ary’s new RMA. Midland stated that it has all documents it needed, but

            it would need Ms. Ary to call again for another ﬁnancial review.

        20. On or about January 9, 2017, Ms. Faulconer called Midland for an update.

            Midland stated that it needed    a    new third-party credit authorization.     Ms.

            F aulconer faxed Midland the requested authorization on the same day.

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         21. On or about January 11, 2017, Midland advised Ms.                    Ary’s counsel by

            telephone that the Mortgagee’s name on the credit authorization should read

            “Estate    of Rauf Ary”        instead    of “Ahlam Ary.”      Midland also requested

            authorization for Ms. Ary’s daughter, Nisar Ary, since her income was

            included in the RMA.

         22. On or about January 17, 2017, Ms. Faulconer faxed the information Midland

            requested on January 11, 2017.

         23. On or about January 18, 2017, Ms. Faulconer called Midland and                 it conﬁrmed

            that   it had received the   requested authorization. Midland requested Ms. Ary’s

            letters   of administration from         the probate   of Mr. Ary’s   estate.    When Ms.

            Faulconer reminded Midland that it already sent the petition for letters of

            administration, Midland stated that it needed the ﬁnal letters of administration.

         24. On or about January 20, 2017, Ms. Faulconer faxed Midland the requested

            letters   of administration.

         25. On or about January 24, 2017, Ms. Faulconer called Midland for another

            update. Midland advised Ms. Faulconer that              it deemed Ms. Ary’s application

            as complete.      Midland’s representative put Ms. Faulconer on hold to check on

            the type    of   assistance Midland could offer.        When Midland’s representative

            returned to the line, Ms. Faulconer was told that Ms. Ary would need to

            assume the loan to be eligible for assistance.            Midland’s representation told

            Ms. Falconer that Ms. Ary would need to issue a quitclaim deed from herself

            to herself in order to assume the loan.            Ms. Faulconer explained that this

            request made no sense and that Ms. Ary had already assumed the loan as the

            successor in interest, but Midland persisted in requesting this quitclaim deed.




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         26. On or about February 3, 2017, Ms. Faulconer faxed a quitclaim deed from Ms.

            Ary’s adult son, Acar Ary, and an afﬁdavit of heirship to prove that Ms. Ary

            was the sole owner     of the home.

         27. On or about February 8, 2017, Ms. Ary’s counsel called Midland for an

            update, Midland acknowledged receipt           of the quitclaim   deed and afﬁdavit   of

            heirship and that Ms. Ary needed to call to review her credit report.

         28. On or about February 13, 2017, Ms.          Ary called Midland and completed the

            credit report review.     After completing the review, Midland requested her

            most recent bank statement and her food stamps award letter.

         29. On or about February 16, 2017, Ms. Faulconer faxed Midland Ms.            Ary’s most

            recent bank statement and a copy of her food stamps award letter.

         30. On or about February 21, 2017, Ms. Faulconer called Midland for an update.

            Midland acknowledged receipt of the requested documents, but stated that Ms.

            Ary needed to deed the Property to herself as the Administratrix of Mr. Ary’s

            estate   in order for Ms. Ary to assume the loan.

         31. On or about March 7, 2017, Midland sent correspondence advising that           it had

            denied Ms. Ary’s RMA due to incompleteness. Midland did not explain why

            Ms. Ary’s application was determined by it to be incomplete.

         32. On or about March 23, 2017, Ms.           Ary’s counsel sent Midland and Weiss       a


            written RESPA Notice of Error, demanding that errors be corrected

            immediately.

         33. On or about   April   11, 2017, Ms.      Ary’s counsel received Midland’s response

            to the Notice     of Error.   Midland advised that       if   Ms. Ary completed the

            enclosed loan assumption paperwork, her loan modiﬁcation application would

            be re-opened and deemed complete.

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          34. As a precautionary measure, Ms.              Ary’s counsel faxed her completed loan

                 assumption paperwork on April 12, 2017. Along with this loan assumption

                 paperwork, Ms. Ary’s counsel sent a letter notifying Midland and Weiss                if the
                 April 27, 2017 proposed foreclosure was not canceled or postponed by the

                 close    of   business on   April   17, 2017, Ms.   Ary would ﬁle suit to stop any

                 potential foreclosure.

          35 .   At the time that the Complaint        was ﬁled on   April      18, 2017, Defendants had

                 not informed Ms. Ary or her counsel that the April 27, 2017 foreclose sale

                 was canceled or postponed.

          36. Ms.        Ary lives in her home with her disabled daughter, and her son attends the

                 University of Tennessee at Knoxville. Ms. Ary has no other family in this

                 area.


                                             Conclusions of Law

          Based on the foregoing preliminary ﬁndings             of fact       and the applicable law, the

   Court makes the following conclusions of law under Tenn. R. Civ. P. 65.04:

          1.     Ms. Ary has shown a strong likelihood        of success of breach of contract (Count

                 3) and violation     of the   federal statutes (Counts    1    and 2) relied upon in her

                 Complaint.

                 Ms. Ary has shown a substantial risk        of irreparable harm       if the   Court allows

                 Weiss to foreclose on her home under the circumstances presented here.

                 The public interest and the balancing       of harm militate in favor of the Court’s

                 granting Ms. Ary temporary extraordinary injunctive relief here.

                 The Court, therefore, hereby GRANTS Ms. Ary’s application for a temporary

                 restraining order.




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           5.    Weiss & Cummings, PLLC, accordingly, is hereby temporarily prohibited

                 from selling at foreclosure, or taking any additional steps with                  a   View   of

                 selling at foreclosure, the home of Ms. Ary located at 109 Colemont Drive,

                 Antioch, Davidson County, Tennessee, pending further orders of the Court.

            6.   This temporary injunction will take effect upon Plaintiff’s posting of security

                 in the nominal amount of $50.00.

                                                 Conclusion

            For the foregoing reasons, the Court hereby GRANTS Plaintiff’ 5 application for a

  temporary injunction.3

            IT IS SO ORDERED.



                                                         MDQ
                                                         RUSSELL T. PERKINS
                                                         CHANCELLOR



  cc:       David Tarpley, Esq. (via facsimile)
            Samuel Keen, Esq. (via facsimile)
            Midland Mortgage Company (via US. mail)
            Weiss & Cummins, PLLC (Via facsimile)
            Duane W. Devault, Esq. (via facsimile)




  3
      At the hearing, Plaintiff made   an oral argument regarding escrow payments and payments into Court.
  Although the Court was inclined to grant the motion, the Court asked Plaintiff‘s counsel to submit a
  proposed order granting this relief to give the other parties an opportunity to object to the entry of the order
  under the Local Rules.

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      IN THE CHANCERY COURT OF THE TWENTIETH JUDICIAL DISTRICT,
               DAVIDSON COUNTY, TENNESSEE, AT NASHVILLE
                                                                                                    RECEIVED
Ablam K- Ary’                                       )                                               APR 2 6 2017
                                                    )                                          Dav. Co. Chancery Court
                Plaintiff,                          )
                                                    )                Mp                .

VS-                                                 )          Case No. 17—0371-w                                    N
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Midland Mortgage Company and                        )                                                2%}        K
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Weiss & Cummins, PLLC,                              )                                                               T
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                Defendants.                         )
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                                                                                                                     :-
                             ORDER SETTING ESCROW PAYMENTS


        On April 25, 2017, at the hearing on her Motion for Temporary Injunction, Plaintiff

presented oral argument to the Court requesting that she be allowed to start escrowing monthly

payments   of $384.00 with    the Clerk   & Master. Plaintiff informed        the court that she wishes to

make these escrow payments as a demonstration           of good faith       and her intention to make the

monthly mortgage payment for which she qualiﬁes.

        Plaintiff advised the Court that the $384.00 amount roughly reﬂects the amount that,                              as


calculated by her counsel, Plaintiff would likely be obligated to pay under the terms                       of a HAMP
loan modiﬁcation. Plaintiff further informed the Court that she has been escrowing a monthly

payment   of $384.00 into    her attorney’s client trust account since February 2017. Plaintiff has

deposited a total   of $1152.00 into her attorney’s client trust account      thus far. Plaintiff requested

escrow payments begin with the Clerk       & Master on May      15, 2017, and continue              for each month

thereafter until this matter is resolved or further order   of the Court.




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        Duane W. Devault appeared as counsel for MidFirst Bank and, although he did not object

to the escrow, he requested that the Plaintiff‘s escrow payment be placed into an interest-bearing

account.     Plaintiff has no opposition to this request. The Court ﬁnds the Plaintiff s request is well-

taken. Based on the forgoing,       Plaintiff 5   request to begin escrowing payments     of $384.00 per

month with the Clerk & Master is GRANTED.

        IT IS, THEREFORE, ORDERED, as follows:

        1)        Plaintiff shall begin escrowing    a   monthly payment in the amount of $384.00 with

the Clerk     & Master.   These payments shall begin on May 15, 2017, and continue each month

thereafter until resolution   of these proceedings or until further order of the Court.

       2)         Plaintiff’s escrow payments will be placed in an interest-bearing account.

        3)        Plaintiff shall also deposit with the Court all amounts which    she has paid into her

attomey’s escrow account ($1152.00) on or before May 15, 2017.




Entered this the            day of April/May, 2017.


                                                               W 219*—
                                                            CHANCELLDR ﬁUSSEL‘L T. PERKINS

Approved for Entry:




David Tarpley, BPR No. 004059
Samuel Keen, BPR No. 033865
Legal Aid Society
300 Deaderick Street
Nashville, Tennessee 37201
Phone: (615) 244-6610
Fax: (615) 244—4920
Attorneys for Plaintiff




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                                   CERTIFICATE OF SERVICE

       Under the penalties   of perjury,   1,   Samuel Keen, do hereby certify that on   April 26, 2017, I

caused a copy   of the foregoing   Order Setting Escrow to be sent to the following parties Via US

Mail First Class and electronic mail   at their respective   mailing and email addresses:



Elizabeth A. Cash                   Duane W. Devault                      Deborah A. Wolfe
Weiss & Cummins, PLLC               Local Counsel, MidFirst Bank          House Counsel, MidFirst Bank
208 Adams Avenue                    2556 Cages Bend Road                  999 NW Grand Boulevard
Memphis, Tennessee 38103            Gallatin, Tennessee 37066             Oklahoma City, Oklahoma 73118
ﬁrm@weisscummins.com                duanedevault@att.net                  NO EMAIL




                                                           Samuel Keen, BPR No. 033865
                                                           Attorney for Plaintiff




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